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 6                       IN THE UNITED STATES DISTRICT COURT
 7
                                     DISTRICT OF ARIZONA
 8
 9   United States of America,                         No. CR 20-00634-1-PHX-DWL
10                 Plaintiff,                                   ORDER
11         vs.
12                                                          (Second Request)
     Jill Marie Jones,
13                 Defendant.
14
            Upon motion of Defendant, there being no objection from the Government, and
15
     good cause appearing,
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            IT IS ORDERED granting Defendant’s Motion to Continue Sentencing (Doc.
17
     122), for the reasons stated in Defendant’s motion.
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            IT IS FURTHER ORDERED continuing Sentencing from June 12, 2023, to
19
     October 2, 2023, at 2:30 p.m.
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            Dated this 12th day of May, 2023.
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